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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

BRADLEY GELLER,

               Plaintiff,                                   Case Number 17-13233
v.                                                          Honorable David M. Lawson

STATE OF MICHIGAN,

               Defendant,
and

UNITED STATES OF AMERICA,

               Interested party.
                                             /

         ORDER DIRECTING CLERK TO DOCKET AMENDED COMPLAINT

       On September 28, 2018, the Court received via registered mail a copy of an amended

complaint submitted by the plaintiff. The amended pleading was conveyed to the Clerk of Court,

and a copy subsequently was hand delivered by the plaintiff to the assigned magistrate judge, but

it never was electronically filed. The Court therefore will direct the Clerk of Court to docket the

amended complaint and deem it filed on the date that it was received by the Court.

       Accordingly, it is ORDERED that the Clerk of Court forthwith shall docket the plaintiff’s

amended complaint, and the pleading shall be deemed FILED as of September 28, 2018.

                                                            s/David M. Lawson
                                                            DAVID M. LAWSON
                                                            United States District Judge

Date: November 8, 2018
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                                    PROOF OF SERVICE

                 The undersigned certifies that a copy of the foregoing order was
                 served upon each attorney or party of record herein by
                 electronic means or first class U.S. mail on November 8, 2018.

                                            s/Susan K. Pinkowski
                                            SUSAN K. PINKOWSKI




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